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UNITED STATES DISTRlCT COURT                                                       DATE FILED: 1I/.l2-J;'1J
SOUTHERN DISTRlCT OF NEW YORK                                                                         f      I

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U.S. SECURlTIES AND EXCFIANGE                                            10 Civ. 4270 (SHS)
COMMISSION,

                                    Plaintiff,

                  -against-                                                 ORDER

KENNETH IRA STARR, ET AI.,

                                    Defendants.
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SIDNEY H. STEIN, U.S.D.l

                  A pretrial conference having been held today, with counsel for plaintiff present,

counsel for receiver present, and receiver Aurora Cassirer present,

                  IT IS HEREBY ORDERED that:

                  1.       For the reasons set forth on the record, defendant Kenneth Starr and relief

defendant Diane Passage's motion to partially lift stay to release assets [25] is dismissed, without

prejudice to renewal;

                  2.       The motion for attorneys'               filed by Aurora Cassirer, receiver, and

Troutman Sanders LLP as counsel to the receiver [36] is granted. The Court awards attorneys' fees

as follows:

                  To Aurora Cassirer, receiver, for the period June 1,2010, through August 31, 2010:

                                          $ 51,018.75 (attorneys' fees)
                                               111.72 (expenses)
                                    Total $ 51,130.47
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            To Troutman Sanders LLP, counsel to the receiver, for the period June 7, 2010,
            through August 31, 2010:

                                  $254.899.53 (attorneys' fees)
                                     1,994.75 (expenses)
                            Total $256,894.28

            3.     There will be a pretrial conference on February 17,2011, at 9:00 a.m.


Dated: New York, New York
       November 22, 2010

                                                    SO ORDERED:




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